          Case 3:23-cv-04597-LB Document 9 Filed 10/09/23 Page 1 of 5



 1   [Counsel listed on following page]
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 8                                  UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11

12   ASHLEY GJOVIK,                                 Case No. 23-cv-4597-LB
13                     Plaintiff,                   STIPULATION AND [PROPOSED]
                                                    ORDER TO (1) ENLARGE TIME TO
14            v.                                    FILE RESPONSIVE PLEADING, (2)
                                                    SET DEADLINE TO FILE AMENDED
15   APPLE INC.,                                    COMPLAINT AND RESPONSIVE
                                                    PLEADING, (3) PERMIT AND SET
16                     Defendant.                   DEADLINE FOR SECOND AMENDED
                                                    COMPLAINT, AND (4) SET DEADLINE
17                                                  FOR RESPONSE TO SECOND
                                                    AMENDED COMPLAINT AND
18                                                  FURTHER BRIEFING (IF NEEDED)
19                                                  [N.D. CAL. CIV. L.R. 6-2]
20                                                  Dept:     Courtroom B, 15th Floor
                                                    Judge:    Honorable Laurel Beeler
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28                                                            STIP. AND [PROPOSED] ORDER RE:
                                                         RESPONSIVE PLEADING DEADLINE AND
                                                                      ADDITIONAL DEADLINES
     4154-3130-6315
                                                                        CASE NO. 23-CV-4597-LB
          Case 3:23-cv-04597-LB Document 9 Filed 10/09/23 Page 2 of 5



 1   ASHLEY GJOVIK (pro se)
     legal@ashleygjovik.com
 2   2108 N St. Ste. 4553
     Sacramento, CA, 95816
 3   Telephone:     +1 408 883 4428

 4   Pro Se Plaintiff

 5
     JESSICA R. PERRY (SBN 209321)
 6   jperry@orrick.com
     MELINDA S. RIECHERT (SBN 65504)
 7   mriechert@orrick.com
     ORRICK, HERRINGTON & SUTCLIFFE LLP
 8   1000 Marsh Road
     Menlo Park, CA 94025-1015
 9   Telephone:    +1 650 614 7400
     Facsimile:    +1 650 614 7401
10
     KATHRYN G. MANTOAN (SBN 239649)
11   kmantoan@orrick.com
     ORRICK, HERRINGTON & SUTCLIFFE LLP
12   The Orrick Building
     405 Howard Street
13   San Francisco, CA 94105-2669
     Telephone:    +1 415 773 5700
14   Facsimile:    +1 415 773 5759

15   KATE E. JUVINALL (SBN 315659)
     kjuvinall@orrick.com
16   ORRICK, HERRINGTON & SUTCLIFFE LLP
     355 S. Grand Ave.
17   Ste. 2700
     Los Angeles, CA 90071
18   Telephone:    +1 213 629 2020
     Facsimile:    +1 213 612 2499
19
     RYAN D. BOOMS (SBN 329430)
20   rbooms@orrick.com
     ORRICK, HERRINGTON & SUTCLIFFE LLP
21   1152 15th Street, N.W.
     Washington, D.C. 20005-1706
22   Telephone:    +1 202 339 8400
     Facsimile:    +1 202 339 8500
23
     Attorneys for Defendant
24   Apple Inc.

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28                                                       STIP. AND [PROPOSED] ORDER RE:
                                                    RESPONSIVE PLEADING DEADLINE AND
                                                                 ADDITIONAL DEADLINES
     4154-3130-6315                                                CASE NO. 23-CV-4597-LB
          Case 3:23-cv-04597-LB Document 9 Filed 10/09/23 Page 3 of 5



 1            Plaintiff Ashley Gjovik (“Plaintiff”) and Defendant Apple Inc. (“Defendant”) hereby

 2   stipulate as follows:

 3            WHEREAS, Plaintiff filed a Complaint on September 7, 2023 against Defendant alleging

 4   claims under: (1) the Sarbanes-Oxley Act, (2) the Dodd-Frank Wall Street Reform and Consumer

 5   Protection Act, (3) the Bane Civil Rights Act, (4) the Ralph Civil Rights Act, (5) the Racketeer

 6   Influenced and Corrupt Organizations Act, (6) California Labor Code § 1102.5, (7) California

 7   Labor Code § 98.6, (8) California Labor Code § 6310, (9) wrongful termination in violation of

 8   public policy, and (10) intentional infliction of emotional distress (Dkt. 1);

 9            WHEREAS, Plaintiff personally served Apple Inc. with a copy of the Summons and the
10   Complaint on September 21, 2023 and thereafter filed a Proof of Service of Summons on

11   September 22, 2023 (Dkt. 8 at 3);

12            WHEREAS, pursuant to Rule 12 of the Federal Rules of Civil Procedure (“FRCP”), the

13   deadline for Defendant to serve and file a Response is currently October 12, 2023. For purposes

14   of this stipulation, “Response” means anything permitted in response to a complaint under the

15   FRCP (including, for example, an answer or a motion under FRCP 12);

16            WHEREAS, Plaintiff emailed Defendant on October 4, 2023 to notify Defendant that she

17   intends to file a First Amended Complaint;

18            IT IS HEREBY STIPULATED by the Parties that Defendant will not file a Response to

19   the Complaint and Plaintiff will instead file a First Amended Complaint on or before October 26,
20   2023;

21            IT IS FURTHER STIPULATED by the Parties that Defendant will file a Response to the

22   First Amended Complaint on or before November 16, 2023;

23            IT IS FURTHER STIPULATED by the Parties that Plaintiff shall have all the same rights

24   to file a Second Amended Complaint under Rule 15 of the Federal Rules of Civil Procedure as if

25   the Second Amended Complaint were the First Amended Complaint;

26            IT IS FURTHER STIPULATED by the Parties that if Defendant responds to the First

27   Amended Complaint with a motion, and if a briefing schedule is necessary, then the following

28                                                                     STIP. AND [PROPOSED] ORDER RE:
                                                                  RESPONSIVE PLEADING DEADLINE AND
                                                      -1-                      ADDITIONAL DEADLINES
     4154-3130-6315
                                                                                 CASE NO. 23-CV-4597-LB
          Case 3:23-cv-04597-LB Document 9 Filed 10/09/23 Page 4 of 5



 1   schedule will apply: Plaintiff will file an opposition on or before December 21, 2023, and

 2   Defendant will file a reply on or before January 11, 2024;

 3            IT IS FURTHER STIPULATED by the Parties that Plaintiff may file a Second Amended

 4   Complaint on or before December 21, 2023, regardless of whether or not it is in response to a

 5   motion by Defendant in response to Plaintiff’s First Amended Complaint;

 6            IT IS FURTHER STIPULATED by the Parties that, if Defendant responds to the First

 7   Amended Complaint with a motion and if Plaintiff chooses to file a Second Amended Complaint

 8   under Rule 15 of the Federal Rules of Civil Procedure, then Plaintiff will do so on or before

 9   December 21, 2023, and Defendant will file a Response to the Second Amended Complaint on or
10   before January 18, 2024;

11            IT IS FURTHER STIPULATED by the Parties that this stipulation does not alter any

12   deadlines currently set by the Court.

13            Respectfully submitted,

14   Dated: October 9, 2023
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16                                                         By: /s/ Ashley Gjovik
                                                                           ASHLEY GJOVIK
17                                                                           Pro Se Plaintiff
18
     Dated: October 9, 2023                                ORRICK, HERRINGTON & SUTCLIFFE LLP
19
20
                                                           By: /s/ Jessica R. Perry
21                                                                          JESSICA R. PERRY
                                                                           Attorneys for Defendant
22                                                                                Apple Inc.
23
                              CIVIL LOCAL RULE 5-1(i)(3) ATTESTATION
24
              Per L.R. 5-1(i)(3), I attest the other signatory has concurred in the filing of this document.
25
      Dated: October 9, 2023                           /s/ Jessica R. Perry
26                                                     Jessica R. Perry
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28                                                                      STIP. AND [PROPOSED] ORDER RE:
                                                                   RESPONSIVE PLEADING DEADLINE AND
                                                                                ADDITIONAL DEADLINES
     4154-3130-6315                                                               CASE NO. 23-CV-4597-LB
          Case 3:23-cv-04597-LB Document 9 Filed 10/09/23 Page 5 of 5



 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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     Dated:
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 4                                            By:
                                                         HON. LAUREL BEELER
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28                                                       STIP. AND [PROPOSED] ORDER RE:
                                                    RESPONSIVE PLEADING DEADLINE AND
                                                                 ADDITIONAL DEADLINES
     4154-3130-6315                                                CASE NO. 23-CV-4597-LB
